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Counsel for Highland Capital Management, L.P.
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                           §
In re:
                                                           §   Chapter 11
                                                           §
ACIS CAPITAL MANAGEMENT, L.P., ACIS CAPITAL
                                                           §   Case No. 18-30264-sgj11
MANAGEMENT GP, LLC,
                                                           §   Case No. 18-30265-sgj11
                                                           §
                                 Debtors.
                                                           §   (Jointly Administered Under Case No. 18-
                                                           §   30264-sgj11)
                                                           §
ACIS CAPITAL MANAGEMENT, LP., ACIS CAPITAL
                                                           §
MANAGEMENT GP, LLC, Reorganized Debtors,
                                                           §
                                                           §
                                 Plaintiff,
                                                           §   Adversary Proceeding No. 20-03060-sgj
                                                           §
vs.
                                                           §
                                                           §
JAMES DONDERO, FRANK WATERHOUSE, SCOTT
                                                           §
ELLINGTON, HUNTER COVITZ, ISAAC LEVENTON,
                                                           §
JEAN PAUL SEVILLA, THOMAS SURGENT, GRANT
                                                           §
SCOTT, HEATHER BESTWICK, WILLIAM SCOTT, AND
                                                           §
CLO HOLDCO, LTD.,
                                                           §
                                                           §
                                 Defendants.
                                                           §


            HIGHLAND CAPITAL MANAGEMENT, L.P.’S RESPONSE TO
           ACIS’ MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
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         Highland Capital Management, L.P. (“Highland”) respectfully submits this response in

objection (the “Response”) to Acis’ Motion to Compel Compliance with Subpoena [Docket No.

89] (the “Motion”) 1 filed in the above-referenced adversary proceeding (the “Adversary

Proceeding”). Highland fully incorporates by reference its contemporaneously filed Memorandum

of Law in Support of Its Objection to Acis’ Motion to Compel Compliance with Subpoena (the

“Brief”) in opposition to the Motion and would show unto the Court as follows:

                                           RELIEF REQUESTED

         1.       By this Response, Highland respectfully requests that the Court enter an order

denying the Motion.

         2.       Pursuant to Rules 7007-1(d) and (e) of the Local Bankruptcy Rules of the United

States Bankruptcy Court for the Northern District of Texas, Dallas Division (the “Local Rules”),

the Brief is being filed contemporaneously with this Response and is incorporated by reference.

                                                    PRAYER

         WHEREFORE, Highland respectfully requests that the Court (i) deny the Motion, and (ii)

grant such other and further relief as the Court deems just and proper.




1
  Acis Capital Management, L.P. and Acis Capital Management GP, LLC (collectively, “Acis”) filed the Motion on
December 13, 2022. Later that same day, Acis filed its Motion to Compel Compliance with Subpoena [Docket No.
90] (the “Subsequent Motion”). Other than attaching the exhibits to the Appendix in Support of Acis’ Motion to
Compel Compliance with Subpoena [Docket No. 90-2] included with the Subsequent Motion, the Motion and
Subsequent Motion appear identical in substance. Ostensibly, the Subsequent Motion supersedes the Motion, but
there is no clear indication in the Subsequent Motion stating as much. Accordingly, out of an abundance of caution,
Highland is filing this Response to preserve its objections to the relief requested in the Motion should there be any
contention that the Motion remains a live request for relief.



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Dated: January 13, 2023             PACHULSKI STANG ZIEHL & JONES LLP

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                                    -and-

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